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EXHIBIT A

RLF1-3222058-1
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

In re

CASE NO. 07-10416
NEW CENTURY TRS HOLDINGS
INC,, a Delaware corporation, et al.,| Chapter 11

Debtors.

SECOND STIPULATION By AND AMONG CERTAIN CURRENT AND FORMER DIRECTORS AND
OFFICERS OF DEBTORS, THE DEBTORS AND THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS FOR AN ORDER GRANTING RELIEF FROM THE AUTOMATIC STay, TO THE
EXTENT ANY SUCH RELIEF IS REQUIRED,

To ENFORCE INSURANCE POLICY IN FAVOR OF INSURED PERSONS

This Second Stipulation and Agreement for an Order Granting Relief From Stay
(“Second Stipulation”) is made by and among A) Brad A. Morrice, Kevin M. Cloyd, Patti M.
Dodge, Stergios Theologides, Joseph F. Eckroth, Jr., Taj 8. Bindra, Robert R. Cole, Edward F.
Gotschall, Donald E. Lange, Fredric J. Forster, Richard A. Zona, Marilyn A. Alexander, Harold
A. Black, David Einhorn, and Michael M. Sachs, by and through their undersigned counsel, B)
the Debtors, by and through their attorney of record, and C) the Official Committee of

Unsecured Creditors of the Debtors by and through its attorney of record (the “Committee,”

I The Debtors are the following entities: New Century Financial Corporation (f/k/a New Century REIT, Inc), a
Maryland corporation; New Century TRS Holdings, Inc. (f/k/a New Century Financial Corporation), a Delaware
corporation; New Century Mortgage Corporation (f/k/a JRE Mortgage) (d/b/a NCMC Mortgage Corporate, New
Century Corporation, New Century Mortgage Ventures, LIC), a California corporation; NC Capital Corporation,
a California corporation; Home123 Corporation (f/k/a The Anylean Corporation, }8Q0anyloan.com,
Anyloan,com), a Califomia corporation; New Century Credit Corporation (f/k/a Worth Funding Incorporated}, a
California corporation; NC Asset Holding, L-P. (f/k/a NC Residual I Corporation), a Delaware limited
partnership; NC Residual ITT Corporation, a Delaware corporation; NC Residual IV Corporation, a Delaware
corporation, New Century R.E.O. Corp., a California corporation; New Century R.E.O. I Corp., a California
corporation, New Century R.E.0. TH Corp., a California corporation; New Century Mortgage Ventures, LIC
(d/b/a Summit Resort Lending, Total Mortgage Resource, Select Mortgage Group, Monticella Mortgage Services,
Ad Astra Mortgage, Midwest Home Mortgage, TRATS Financial Services, Elite Financial Services, Buyers
Advantage Mortgage), a Delaware limited liability company; NC Deltex, LLC, a Delaware limited liability
sompany; NCoral, L P, a Delaware limited partmership,
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collectively with the Debtors and the aforement ‘oned individuals, the “Parties”).2
Based on the facts below, the Parties herein stipulate and agree, that the Insured Persons
(also as defined herein) shall be granted immediate relief from the automatic stay to enforce their
rights and/or receive payments (as set forth herein) of up to Ten Million Dollars ($10,000,000) in
the aggregate for all Insured Persons (defined below) combined of the policy proceeds payable
under the Primary Insurance Policy (as defined herein):+
* Directors, Officers and Corporate Liability/General Partners and Limited
Partnership Liability Insurance Policy, policy number 672-43-85, as amended and
modified, from time to time (the “Primary Insurance Policy”) ($10 million in
coverage), with American International Specialty Lines Insurance Company
(“AISLIC”) and AIG Domestic Claims, Inc. (“AIG”, and together with AISLIC,
the “Primary Insurer’).
In addition to the Primary Insurance Policy there are additional excess policies,
(collectively the “Excess Policies”), The Excess Policies are as follows:
. ACE American Insurance Company, policy number DOX G2166120A-002 ($10
million in excess coverage);
. Lloyd's of London, policy number FD0604467 ($10 million in excess coverage);

. Axis Reinsurance Company, policy number RNN 727183 ($10 million in excess

2 The Parties hereto are party to that certain Stipulation and Agreement for an Order Granting
Relief From Stay which permitted the Insured Persons (as defined herein) to access up to $5
million of proceeds under the Primary Insurance Policy (as defined herein) for defense costs
(the “Original Stipulation”) which was approved by the Bankruptcy Court on July 31, 2007
[Docket #2100].

The Insured Persons have already been granted the right to receive payments up to $5 million
based on the Original Stipulation and this Stipulation is intended to increase that amount by
another $5 million, to $10 million in the aggtegate.
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coverage); and

* Starr Excess Liability Insurance Company, Ltd., policy number 4121907 ($10

million in excess coverage).

The foregoing insurance policies shall be collectively referred to as the “Insurance
Policies”, the carriers shall be collectively referred to as the “Insurers” and, for the purposes of
this Stipulation, all present and former directors, officers and employees of any of the Debtors
named in any of the D&O Actions (defined below) or who are now, or in the future, named (or
otherwise required to incur legal and related expenses covered by the Insurance Policies) in any
other actions, including without limitation governmental investigations (collectively, the “Other
Actions”), including, but not limited to Robert R. Cole, Brad A. Morrice, Edward F. Gotschall,
Patrick J. Flanagan, Kevin M. Cloyd, Patti M. Dodge, Stergios Theologides, Joseph F. Eckroth,
Jr., David Einhom, Donald E. Lange, William J. Popejoy, Fredric J. Forster, Richard A. Zona,
Marilyn A, Alexander, Harold A. Black, Taj 8. Bindra and Michael M. Sachs shall be
collectively referred to as “Insured Persons.” The Insured Persons collectively with the Debtors
shail be referred to as “Insured Parties.” In support thereof, the Parties state as follows:

1. On April 2, 2007 (“Petition Date”), cach of the Debtors filed a voluntary petition
for relief under Chapter 11 of the United States Bankruptcy Code. The Debtors are operating
their businesses and managing their properties as debtors-in-possession pursuant to sections
1107{a) and 1108 of the Bankruptcy Code. On April 9, 2007, the United States Trustee
appointed the Official Committee of Unsecured Creditors in these cases. On June 7, 2007,
Michael J. Missal was appointed examiner in these chapter 11 cases.

2, Prior and subsequent to the Petition Date, certain of the Insured Parties were

named as defendants in approximately 35 complaints, which complaints generally fall into the
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following two general categories: a) Class Action Securities Litigation; and b) Derivative
Litigation (collectively, the “D&O Actions”).

3. The defendants in the D&O Actions are certain of the Insured Parties. The D&O
Actions are stayed pursuant to 11 U.S.C. § 362 as to the Debtors, but not the Insured Persons. In
defending themselves in the D&O Actions, certain of the Insured Persons have incurred and are
continuing to incur legal and related expenses. Although they believe that the allegations raised
by plaintiffs are without metit, the Insured Persons remain exposed to mounting costs of defense
as well as the potential of judgments.

4, Prior to the commencement of the D&O Actions, the Debtors purchased the
Insurance Policies for the benefit of the Insured Parties.

5. Pursuant to the Insurance Policies, the Insured Persons are entitled (i) to have
certain legal fees and expenscs incurred by them in a) the defense of the D&O Actions, and b)
the defense of all Other Actions covered by the Insurance Policies, whether filed or initiated
before or after the Petition Date, advanced to them by the Insurers, subject to the Insurers’ nght
to be repaid by an Insured Person any amount advanced to or on behalf of such Insured Person in
the event and to the extent such Insured Person shall not be entitled under the terms and
conditions of the Insurance Policies to payment of such legal fees and expenses, and (zi) to be
Teimbursed for certain other types of non-cxcluded losses that they may suffer in connection
therewith, including without limitation, certain types of damages, judgments, and settlements, up
to the maximum limits of the Insurance Policies.

6. In accordance with the Insurance Policies, certain Insured Persons have made
demand on the Insurers to advance the Defense Costs (as defined in the Insurance Policies) they

have incurred, and are continuing to incur in defending themselves in the D&O Actions.
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7. In accordance with the Original Stipulation, the Primary Insurer has begun
making advances of Defense Costs incurred by the Insured Persons in connection with the D&O
Actions and any Other Actions.

8. The Primary Insurer, subject to a reservation of its rights under the Primary
Insurance Policy, has advised the Insured Persons that it is ready and willing to advance past,
present and future Defense Costs above the $5,000,000 set forth in the Original Stiputation
incurred by the Insured Persons in connection with the D&O Actions and any Other Actions,
subject to its right of repayment as set forth in paragraph 5 hereof. However, the Primary Insurer
has informed the Insured Persons that it cannot risk being sued for allegedly violating the
automatic stay imposed by 11 U.S.C. §362(a) if it does so, thereby exposing itself to the risk of
being required to pay more then the $10 million policy limit of the Primary Insurance Policy.
While the Insured Persons do not believe that the proceeds payable under the Insurance Policies
are property of the Debtors’ estates, the Committee believes otherwise. In an abundance of
caution, given the Committee’s position, the Insured Parties believe it is prudent to obtain relief
from the automatic stay before asserting their rights under the Insurance Policies with respect to
the policy proceeds.

9. The Parties have entered into this Stipulation for relief from the automatic stay, to
the extent any such relief is required, with the understanding that it is only an interim resolution
to permit the Primary Insurer to advance defense costs to the Insured Persons. The Parties, and
each of them, shail continue to attermpt to negotiate a more global agreement regarding the
Insurance Policies in the context of developing the Debtors’ plan of reorganization and reserve
all rights to seek or oppose any additional relief regarding the Insurance Policies or anything

related thereto (including the Insured Persons seeking unfettered recovery of all proceeds under
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the Insurance Policies); provided, however, that in no event shall any Party assert that any term
of any such agreement subjects any Insurer to any liability with respect to any advances or
payments made by such Insurer pursuant to this Stipulation prior to the date such agreement is
executed by all Parties.

Based on the foregoing, it is hereby Stipulated and Agreed to by and between the Parties

as follows:

A. Subject to Bankruptcy Court approval, to the extent necessary, the provisions of
§362 of the Bankruptcy Code are modified to permit the Insured Persons to
receive up to Ten Million Dollars ($10,000,000) in the aggregate for all Insured
Persons combined under the Primary Policy (the “Stipulated Payment Amount”)
for past, present and future Defense Costs (as defined in the Primary Insurance
Policy) incurred or to be incurred by any Insured Person in connection with the
D&O Actions or any Other Actions;

B. In no event and under no circumstances shall the Primary Insurer be subject to
any liability to any Party with respect to any advances, reimbursements or
payments made by the Primary Insurer pursuant to this Stipulation;

C. Other than as required to enforce the rights agreed upon in this Stipulation, the
Parties reserve all other righis, including but not limited to asserting that the
proceeds of the Insurance Policies are, or are not, property of the Debtors’ estates.

D. Nothing in this Stipulation shall preclude any Insured Party from, at any time, by
motion or further stipulation, seeking further access to the proceeds of the
Insurance Policies to pay a covered I.oss nor shall the Committee or Debtor be

precluded from opposing such request. Neither the Stipulated Payment Amount,
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nor any further agreement or order concerning the use or availability of proceeds
from the Insurance Policies to the Insured Persons, shall have any impact on or
alter or impair the express provisions of the Insurance Policies, including, but not
limited to any reservation of rights by any Insurer.

Nothing in this Stipulation shall preclude any Insured Parties from, at any time in
the future, seeking approval of onc or more motions to enforce the Insurance
Policies and/or their unfettered access to proceeds from the Insurance Policies,
nor shall the Committee, the Debtor or any Insured Person or Party be precluded
from opposing such request.

Following the approval of this Stipulation by the Bankruptcy Court, until the
earlier of: (1) confirmation of a chapter 11 plan or plans with regard to one or
more of the Debtors’ cases; (ii) appointment of a chapter 11 trustee or conversion
of one or morte of the Debtors’ cases to chapter 7; (iii) the initiation or
continuation of any litigation against any Insured Person by the Debtors, their
successors or assigns (the pendency of the derivative litigation filed prior to the
Petition Date shall not constitute such litigation by the Debtors unless or until the
Debtors, their successors or assigns take any action to continue or otherwise
pursue such litigation); or iv) further order of the court, counsel for the Insured
Persons whose fees and costs are actually paid by the Insurers with regard to the
D&O Actions or Other Actions shall, within 30 days following the 1" day of each
of January, April, July and October, deliver to counsel for the Debtors and
counsel for the Committee a statement setting forth the total aggregate amount of

fees and costs actually paid by the Insurer pursuant to this Stipulation, identifying
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and providing a brief status of the D&O Actions and Other Actions for which
such fees and costs were advanced (“Fee Summary”). For the avoidance of
doubt, the Fee Summary is to enable the Committee and the Debtors to calculate
the dollar amount of the Stipulated Payment Amount paid by the Insurers and
provide a brief status with respect to the D&O Actions but is not intended to
provide detailed information on how such amounts were used or any particular
legal services provided to the Insured Persons.

The Debtor and the Creditors Committee agree to consult with counsel for the
Insured Persons regarding the terms of the Debtor's plan of reorganization in
order to attempt to reach a consensual agreement regarding how the Debtor’s plan
of reorganization will treat the Insurance Policies and the proceeds thereof.

This Stipulation is subject to and does not alter or armend the terms and/or
conditions of any of the Insurance Policies or any reservations of rights under
those policies, including, without limitation, any right to reimbursement of an
advance from an Insured Person and any right by Debtors to make claims under or
to receive payment of loss under the Insurance Policies subject to the tenns and
conditions of the Insurance Policies; and

This Stipulation, and any disputes that may arise out of this Stipulation, shall be
subject to the jurisdiction of the Bankruptcy Court.

This Stipulation shall be interpreted in accordance with the laws of California,
without regard to any conflicts of laws principles.

This Stipulation may be executed in any number of counterparts and by facsimile

or electronic transmission, each of which shall be an original, with the same effect
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as if the signatures hereto were upon the same document.

STIPULATED AND AGREED:

DATED: November_6 , 2007 | J (QLA

J. | Wd Kelly tC? A Bar No. 433657)
cok EY GODWARD KR LLP
101 Qalifornia Street, 5™

San Francisco, CA 9411]
(415) 693-2000

Counsel for Taj §. Bindra

Oscar Garza

GIBSON, DUNN & CRUTCHER LLP
3161 Michelson Drive

Irvine, California 92612

(949) 451-3800

Counsel for, Donald E. Lange, Fredric J.
Forster, Richard A, Zona, Marilyn A,
Alexander, Harold A. Black, David Einhorn,
and Michael M. Sachs

DATED: November___, 2007

Todd J, Rosen

MUNGER, TOLLES & OL SOW LLP
333 8, Grand Avenue, 35" Floor

Los Angeles, CA 90071

(213) 683-9222

Counsel for Brad A. Morrice, Kevin M, Cloyd,
Patti M. Dodge, Stergios Theclogides, Joseph F.
Eckroth, /r.. Edward FP. Gotschall

Manny A. Abascal

LATHAM & WATKINS LLP
655 West Fifth Street, Suite 4000
Los Angeles, CA 90071-2007
(213) 485-1234

Counsel for Robert K. Cole
Case 07-10416-BLS Doc 3918-1 Filed 11/20/07 Page 11 of 15

as if the signatures hereto were upon the same document.

STIPULATED AND AGREED:
DATED: November © , 2007

J. Michael Kelly (CA Bar No. 133657)
COOLEY GODWARD KRONISH LLP
101 California Street, 5" Floor

San Franciseo, CA 94111.

(415) 693-2000

Counsel far Taj S. Bindra

Cyn Ses

Osear Garza

GIBSON, D TCHER LLP
3161 Michelson Drive

Irvine, California 92612

(949) 451-3800

' Counsel for, Donald E. Lange, Fredric J
Forster, Richard A. Zana, Marilyn A.
Alexander, Harold A. Black, David Einhorn,
and Michael M. Sachs

DATED: November___, 2007

Todd J. Rosen

MUNGER, TOLLES & OLSON LLP
355 S. Grand Avenue, 35" Floor

Los Angeles, CA 90071

(213) 683-9222

Counsel for Brad A. Morrice, Kevin M. Cloyd,
Patti M. Dodge, Stergios Theologides, Joseph F.
Eckroth, Jr.. Edward F. Gotschall

Manny A. Abascal

LATHAM & WATKINS LLP
655 West Fifth Street, Suite 4000
Los Angeles, CA 90071-2007
(213) 485-1234

Counsel for Robert K. Cole
Case 07-10416-BLS Doc 3918-1 Filed 11/20/07 Page 12 of 15

as if the signatures hereto were upon the same document.

STIPULATED AND AGREED:

DATED: November____, 2007

DATED: November_4 , 2007

J. Michael Kelly (CA Bar No, 133657}

COOLEY GODWARD KRONISH LLP
101 California Street, 5"" Floor

San Francisco, CA 9411)

(415) 693-2000

Counsel for Taj 8. Bindra

Oscar Garza

GIBSON, DUNN & CRUTCHER LLP
316] Michelson Drive

Irvine, California 92612

(949) 45 1-3800

Counsel for, Danald E. Lange, Fredric J.
Forster, Richard A. Zona, Marilyn A.
Alexander, Harold A. Black, David Einhorn,
and of M A p>

Sat

Todd J. Rosen

MUNGER, et aes & OLSON LLP
355 S. Grand Avenue, 35" Floor

Los Angeles, CA 90071

(213) 683-9222

Counsel for Brad A. Morrice, Kevin M. Clayd,
Patti M. Dodge, Stersias Theolagides, Jaseph F.
Eckroth, Jr, Edward F. Goischall

Manny A. Abascal

LATHAM & WATKINS LLP
655 West Fifth Street, Suite 4000
Los Angeles, CA 90071-2007
(213) 485-1234

Counsel for Robert K. Cole
Case 07-10416-BLS Doc 3018-1 Filed 11/20/07 Page 13 of 15

as if the signatures hereto were upon the same document.

STIPULATED AND AGREED:
DATED: November__, 2007

J. Michael Kelly (CA Bar No. 133657)
COOLEY GODWARD KRONISH LLP
101 California Street, 5" Floor

San Francisco, CA 94111

(415) 693-2000

Counsel for Taj §. Bindra

Oscar Garza

GIBSON, DUNN & CRUTCHER LLP
3161 Michelson Drive

Irvine, California 92612

(949) 451-3800

Counsel far, Donald E. Lange, Fredric J.
Forster, Richard A. Zona, Marilyn A,
Alexander, Harold A. Black, David Einhorn,
and Michael M. Sachs

DATED: November 007

Todd J. Rosen

MUNGER, TOLLES & OLSON LLP
355 §, Grand Avenue, 35” Floor

Los Angeles, CA 90071

(213) 683-9222

Counsel for Brad A. Morrice, Kevin M. Cloyd,
Patti M. Dodge, Stergeios Theologides, Joseph F.
Eckrath, Jr, Edward F, Gotschail

LZ aarng A. Mbazcach /P*

Manny A, Atascal

LATHAM & WATKINS LLP
655 West Fifth Street, Suite 4000
Los Angeles, CA 90071-2007
(213) 485-1234

Counsel for Rabert K. Cale

Case 07-10416-BLS Doc 3918-1 Filed 11/20/07 Page 14o0f15

DATED: November 0 , 2007

DATED: November, 2007

Mark D. Cotftris (No. 2981) =
Michael J. Merchant (No. 3854)
Marcos A. Ramos (No. 4450

c wf
RICHARDS, LAYTON & FINGER, P.A. annsh (ieee
One Rodney Square 7 eens
P.O. Box 551 (Ao. 4404)

Wilmington, Delaware 19899
(302) 651-7700

Fo

uzanne'S. and
Ben H. Logan
Victora Newmark
Emily R. Cutler
O'MELVENY &MYERS LLP
275 Battery Street
San Francisco, California 94111
(415) 984-8700

ATTORNEYS AND DEBTORS AND
DEBTORS IN POSSESSION

BLANK ROME LLP

Bonnie Glantz Fatell (No. 3809)
David W. Carickhoff (No. 3715)
1201 Market Street, Suite 800
Wilmington, Delaware 19801
(302) 425-6400

~and-

Mark §, Endelicato

John P. McCahey

HAHN & HESSEN LLP
488 Madison Avenue

New York, New York 10022
(212) 478-7200

Co-Counsel to the Official Committee of
Unsecured Creditors of New Century TRS
Aaldings, Inc., et al

10
Case 07-10416-BLS Doc 3918-1 Filed 11/20/07 Page 15 of 15

DATED: November, 2007

Mark D, Collings (No. 2981)

Michael J, Merchant (No. 3854)

Marcos A, Ramos (No, 4450)
RICHARDS, LAYTON & FINGER, PA,
One Rodney Square

P.O. Box 35]

Wilmington, Delaware 19899

(302) 651-7700

-and-

Suzanne 8, Uhiand

Ben H, Logan

Victora Newmark

Emily R. Culler

O'MELVENY &MYERS LLP
275 Battery Street

San Francisco, California 94111
(415) 984-8700

ATTORNEYS AND DEBTORS AND
DEBTORS IN POSSESSION .

DATED: November § , 2007 BLANK ROME LLP

"petted,

Bosnie Glantz Fatell (No. 3809)
David W. Carickhoff (No, 3715)
1201 Market Street, Suite 800
Wilmington, Delaware 19801]
{302) 425-6400

~and-

Mark §. Indelicato

John P. MeCahe

HAHN & HESSEN LLP
488 Madison Avenue

New York, New York 10022
(212) 478-7200

Co-Caunsel to the Official Committee of
Unsecured Creditors of New Century TRS
Moldings, Inc., et al

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